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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiffs,                            4:23CR3028

      vs.
                                                            ORDER
LATJOR GONY,

                   Defendants.


       Defendant’s retained counsel, Marcus Sladek, has moved to withdraw.
(Filing No. 75). A hearing was held on this motion on January 31, 2024. Defendant
is eligible for appointed counsel pursuant to the Criminal Justice Act, 18 U.S.C.
§3006A, and the Amended Criminal Justice Act Plan for the District of Nebraska.
Based upon the results of the January 31, 2024 hearing:

      IT IS ORDERED:

      1)    Counsel’s motion to withdraw, (Filing No. 75), is granted. Marcus
            Sladek is hereby withdrawn as counsel and shall promptly notify
            Defendant of the entry of this order.

      2)    The clerk shall delete Marcus Sladek from any future ECF
            notifications herein.

      3)    The clerk shall forward this memorandum and order to the Federal
            Public Defender.

      4)    The Federal Public Defender for the District of Nebraska is
            appointed to represent the above-named defendant in this matter. In
            the event that the Federal Public Defender accepts this appointment,
            the Federal Public Defender shall forthwith file an appearance in this
            matter. In the event the Federal Public Defender should decline this
            appointment for reason of conflict or on the basis of the Criminal
            Justice Act Plan, the Federal Public Defender shall forthwith provide
            the court with a draft appointment order (CJA Form 20) bearing the
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          name and other identifying information of the CJA Panel attorney
          identified in accordance with the Criminal Justice Act Plan for this
          district.

    5)    The newly appointed counsel shall promptly file an entry of
          appearance on behalf of Defendant and promptly notify Defendant of
          counsel’s representation of Defendant.


    Dated this 1st day of February, 2024.

                                            BY THE COURT:

                                            s/ Jacqueline M. DeLuca
                                            United States Magistrate Judge
